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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

         Plaintiff,                                        Case No. 1:11-cr-37

 v                                                         HON. JANET T. NEFF

 TIMOTHY THOMAS SIMS,

       Defendant.
 _______________________________/


                                            OPINION

       This Court rendered its oral decision on October 21, 2011 to grant Defendant’s renewed

Motion in Limine (Dkt 87) and deny the government’s oral motion to use at trial the factual

admissions Defendant made during the Plea Hearing. An effectuating order was entered October

24, 2011 (Dkt 115). The Court now issues this written opinion to provide greater detail regarding

the reasons for its decision.

                                          I. Background

       Defendant was charged in the Second Superseding Indictment (Dkt 77) with five counts.

The first set of charges, Counts One through Three, charge Defendant with attempted Sexual

Exploitation of a Child in violation of 18 U.S.C. § 2251(a) and (e), specifically, that Defendant

“surreptitiously created a video of a girl, M.P., who was approximately fourteen years old, while she

was dressing in her bedroom.” The remaining two charges against Defendant are Counts Four and

Seven. Count Four charges Defendant with Possession of Images of a Minor Engaging in Sexually

Explicit Conduct, 18 U.S.C. § 2252(a)(4)(B) and (b)(2), and concerns possession of three categories
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of images: (1) the videos charged in Counts One through Three; (2) images the co-defendant in this

case, Andrea Mast, created and emailed Defendant of her then seven-year-old daughter, B.M.; and

(3) two discs containing over eighty images of child pornography. Count Seven charges Defendant

with Receipt of Images of a Minor Engaging in Sexually Explicit Conduct, 18 U.S.C.

§ 2252(a)(4)(B) and (b)(1), and concerns the images of B.M. sent by Andrea Mast to Defendant.

       The Court noticed trial for Tuesday, October 25, 2011. At the Final Pretrial Conference on

Monday, October 17, 2011, the Court heard argument on two motions Defendant had filed: a

Motion to Sever (Dkt 85), in which Defendant sought to sever Counts One through Three from

Counts Four and Seven; and a Motion in Limine (Dkt 87), in which Defendant sought to exclude

four different categories of evidence from admission at trial. The Court denied the Motion to Sever

from the bench. The Court granted in part Defendant’s Motion in Limine, excluding from trial

certain evidence concerning adult pornography and text messaging; however, the Court denied

Defendant’s Motion in Limine as to other evidence pertaining to Counts Four and Seven, to wit:

the discs containing child pornography and certain emails between Defendant and Andrea Mast.

The Court entered an Order the next day to effectuate its bench rulings (Dkt 103).

       Subsequently, on Friday, October 21, 2011, Defendant pleaded guilty to Counts Four and

Seven of the Second Superseding Indictment against him and orally renewed his Motion in Limine,

specifically requesting reconsideration of this Court’s decision to deny in part his motion. The

government opposed Defendant’s motion and argued under Federal Rule of Evidence 414 that the

Court should permit the government to introduce not only the evidence relating to Counts Four and

Seven but also Defendant’s factual admissions as part of his guilty pleas to those two counts. The




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Court granted Defendant’s renewed motion and denied the government’s oral request from the

bench, entering an Order to effectuate its bench ruling on October 24, 2011 (Dkt 115).

                                      II. Motion Standard

       Federal Rule of Evidence 414 creates an exception to the general ban on propensity evidence

contained in Federal Rule of Evidence 404(b). United States v. Seymour, 468 F.3d 378, 385 (6th

Cir. 2006). Rule 414(a) provides that, “[i]n a criminal case in which the defendant is accused of an

offense of child molestation, evidence of the defendant’s commission of another offense or offenses

of child molestation is admissible, and may be considered for its bearing on any matter to which it

is relevant.” FED. R. EVID. 414(a). The term “child molestation” encompasses conduct involving

the possession and receipt of child pornography. See FED. R. EVID. 414(d).

       Federal Rule of Evidence 403 requires the exclusion of relevant evidence when its “probative

value is substantially outweighed by the danger of unfair prejudice, confusion of the issues, or

misleading the jury . . . .” FED. R. EVID. 403. “Unfair prejudice . . . means an undue tendency to

suggest decision on an improper basis, commonly, though not necessarily, an emotional one.”

Advisory Committee’s Notes on FED. R. EVID. 403, cited approvingly in Old Chief v. United States,

519 U.S. 172, 180 (1997).

       Like other circuits, the Sixth Circuit Court of Appeals has held that “Rule 403, which

balances the probative value of relevant evidence against the ‘danger of unfair prejudice, confusion

of the issues, or misleading the jury,’ applies to evidence that would be otherwise admissible under

[Rule 414].” Seymour, 468 F.3d at 385; see also United States v. Loughry, No. 10-2967, ___ F.3d

___ , 2011 WL 4790540, at *4 (7th Cir. Oct. 11, 2011) (“Rule 403 remains an important safeguard

against the admission of prejudicial evidence that is otherwise admissible under Rule 414”) (internal


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quotation omitted); United States v. LeMay, 260 F.3d 1018, 1026 (9th Cir. 2001) (“there is nothing

fundamentally unfair about the allowance of propensity evidence under Rule 414. . . .[a]s long as

the protections of Rule 403 remain in place to ensure that potentially devastating evidence of little

probative value will not reach the jury”); United States v. Castillo, 140 F.3d 874, 883 (10th Cir.

1998) (“application of Rule 403 to Rule 414 evidence eliminates the due process concerns posed by

Rule 414”). In short, “[t]here should therefore be no question that although evidence cannot be

excluded under Rule 403 simply because it tends to show that the defendant has a propensity to

commit a sex offense, Rule 403 continues to rigorously apply to Rule 414 evidence.” Loughry,

supra.

         When balancing the prior acts evidence under Rule 403, then, “the district court should not

alter its normal process of weighing the probative value of the evidence against the danger of unfair

prejudice.” United States v. Guardia, 135 F.3d 1326, 1330 (10th Cir. 1998). Propensity evidence

has indisputable probative value. Guardia, supra. “That value in a given case will depend on

innumerable considerations, including the similarity of the prior acts to the acts charged, see United

States v. Edwards, 69 F.3d 419, 436 (10th Cir. 1995), cert. denied, 517 U.S. 1243, 116 S. Ct. 2497,

135 L. Ed. 2d 189 (1996), the closeness in time of the prior acts to the charged acts, see id., the

frequency of the prior acts, the presence or lack of intervening events, see United States v. Wacker,

72 F.3d 1453, 1469 (10th Cir.), cert. denied, 519 U.S. 848, 117 S. Ct. 136, 136 L. Ed. 2d 84 (1996),

and the need for evidence beyond the testimony of the defendant and alleged victim.” Id. See also

Seymour, 468 F.3d at 385-86; Johnson v. Elk Lake Sch. Dist., 283 F.3d 138, 156 (3d Cir. 2002);

United States v. Gould, No. 1:08-cr-186, 2009 WL 321602, at *1 (W.D. Mich. Feb. 10, 2009).

Because of the sensitive nature of the balancing test in these cases, it is particularly important for


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a district court to fully evaluate the proffered evidence and make a clear record of the reasoning

behind its findings. Guardia, supra.

                                             III. Discussion

          1. Dissimilarities. Turning to the first factor that may be considered in weighing the

probative value against the prejudicial effect, the Court finds the prior acts evidence involving B.M.

is dissimilar from the current charges involving M.P. The current charges involve three videos

surreptitiously filmed of M.P., a teenage girl, while she was dressing after taking a shower.

Defendant has challenged whether the images of M.P. in the videos are “lascivious” within the

meaning of the statute. In contrast, the prior acts evidence consists of the still images Andrea Mast

took of her then seven-year-old daughter, B.M., and emailed to Defendant. Neither side disputes

that both the posed photographs of B.M. and the numerous images on the discs contain lascivious

exhibitions of the pubic areas of prepubescent girls.

          The Court is persuaded that the prior acts evidence is dissimilar in nature, circumstances, and

victim characteristics to the acts to be proved at trial. Indeed, like the evidence of prior acts

considered in Hough and Stout, the evidence of prior acts in this case is “more lurid and frankly

more interesting than the evidence surrounding the actual charges,” and there is a danger the jury

would pay undue attention to proof of the prior acts. See United States v. Hough, 385 F. App’x 535,

538 (6th Cir. 2010) (affirming, on similar facts, the district court’s decision to exclude FED. R. EVID.

414 evidence under FED. R. EVID. 403); United States v. Stout, 509 F.3d 796, 801 (6th Cir. 2007)

(same).

          2. Temporal Proximity. On the second factor, the closeness in time between the prior acts

and the charged conduct, the Court finds the prior acts and the charged conduct share a temporal


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proximity. Based on the factual allegations set forth in the Second Superseding Indictment, the

videos of M.P. were filmed in September 2010 and the images of B.M. were produced by Andrea

Mast and received by Defendant in November 2010. While the close temporal proximity with the

charged conduct would normally increase the probative value of the prior acts, the Court finds that

proposition less true in this case, given the dissimilarities between the prior acts and the charged

conduct.

       3. Frequency/Intervening Acts. The next factors that may be considered in weighing the

probative value against the prejudicial effect, the “frequency” of the alleged prior acts and the

presence or lack of intervening events, are not necessarily helpful here, given the nature of the

offenses in this case. As has been observed, “child pornography is not a fleeting crime,” and

pornographic images are generally kept for lengthy periods of time. See United States v. Frechette,

583 F.3d 374, 378 (6th Cir. 2009).

       4. Relationship. Similarly, with regard to the fourth factor that may be considered in

weighing the probative value against the prejudicial effect, the evidence of a relationship between

the victims and Defendant, the Court finds no inference to be drawn that points toward either

inclusion or exclusion of the prior acts evidence.

       5. Need for the Evidence. Turning to the last factor that may be considered in weighing the

probative value against the prejudicial effect, the need for the evidence, the statute requires proof

that the employment or use of the minor was accomplished “with the intent that such minor engage

in, any sexually explicit conduct for the purpose of producing any visual depiction of such conduct.”

18 U.S.C. § 2251(a). The government strenuously argued at Defendant’s Plea Hearing that the

evidence would help the government in proving that, in creating the videos of M.P., Defendant had


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the specific intent to produce a video that depicted the lascivious exhibition of the victim’s pubic

area. The government’s need for the evidence, however, “does not make the evidence more likely

to prove that which it is offered to prove.” Stout, 509 F.3d at 800. “Probative value and need for

the evidence are separate considerations that weigh in favor of admission under the Rule 403

balancing test.” Id.

       The Court agrees that Defendant’s possession of pornographic images of prepubescent girls

is evidence relevant to proving Defendant’s general intentions in filming the teenaged victim in

Counts One through Three; however, the Court is not convinced that the need for the evidence is as

great as the government posits. From the arguments the Court has heard thus far in this case,

Defendant’s apparent defense to Counts One through Three is that the videos of M.P. do not depict

the lascivious exhibition of the victim’s pubic area, as required by statute and construed in United

States v. Dost, 636 F. Supp. 828, 832 (S.D. Cal. 1986). Contrast United States v. Wales, 127 F.

App’x 424, 432 (10th Cir. 2005) (discussing cases where the defendant was charged with attempted

violation of § 2251 because no pictures were in fact taken, where the minor girl was a fictitious

person). The pivotal issue at Defendant’s trial will apparently be not whether Defendant was

motivated to create such a video, but whether he “did some overt act that was a substantial step

towards committing the crime of producing images of a minor engaged in sexually explicit conduct”

(Gov’t Trial Br., Dkt 90 at 8).

       In sum, the Court finds that the balance of factors strikes in favor of exclusion. Admission

of the prior acts evidence could create unfair prejudice by inflaming the jury and possibly lead to

a decision to convict Defendant for the prior acts, and not because the evidence demonstrated his

guilt of the conduct charged in Counts One through Three. Like the concern of the trial court judge


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in Hough that admission would “turn the focus of the trial from the current charges to [the

defendant’s] prior acts,” the Court’s overriding concern here is that the emotional impact of the

nature and circumstances of the images of B.M., produced and distributed by her mother, as well

as the sheer numerosity of the images on the discs, would distract the jury from the evidence on the

actual charges against Defendant. Hough, 385 F. App’x at 538 (affirming the district court’s

discretionary decision to exclude the prior acts evidence under Rule 403); see also Stout, 509 F.3d

at 801 (“Any jury will be more alarmed and disgusted by the prior acts than the actual charged

conduct.”). Moreover, the Court is not convinced that a limiting instruction to the jury could cure

the risk of the unfair prejudice resulting from admission of the prior acts at trial. Therefore, the

Court exercises its discretion to exclude the prior acts from Defendant’s trial.

                                         IV. Conclusion

       For the reasons stated above and on the record on October 21, 2011, the Court grants

Defendant’s renewed Motion in Limine and denies the government’s oral request to use Defendant’s

factual admissions from his Plea Hearing.



Date: October 27, 2011                                 /s/ Janet T. Neff
                                                      JANET T. NEFF
                                                      United States District Judge




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